       Third District Court of Appeal
                                State of Florida

                         Opinion filed August 21, 2024.
        Not final until disposition of timely filed motion for rehearing.
                              ________________

                              No. 3D22-1394
                        Lower Tribunal No. F14-7868
                           ________________


                            Honesimo Rubio,
                                   Appellant,

                                      vs.

                          The State of Florida,
                                   Appellee.

      An Appeal from the Circuit Court for Miami-Dade County, Marisa
Tinkler Mendez, Judge.

      Carlos J. Martinez, Public Defender, and Nicholas A. Lynch, Assistant
Public Defender, for appellant.

      Ashley Moody, Attorney General, and Kayla Heather McNab, Assistant
Attorney General, for appellee.


Before LOGUE, C.J., and MILLER and GOODEN, JJ.

     PER CURIAM.

     In light of the victim’s eyewitness testimony that he spent time

socializing with the defendant before the defendant shot him, we find that the
victim’s brother’s testimony identifying the defendant’s truck, even if it were

based on implied hearsay rather than a change in testimony (which we do

not decide), was at best, “harmless beyond a reasonable doubt.” Capehart

v. State, 583 So. 2d 1009, 1013 (Fla. 1991) (citing State v. DiGuilio, 491 So.

2d 1129 (Fla. 1986)).

      Affirmed.




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